   Case: 1:09-cr-00383 Document #: 291 Filed: 04/01/14 Page 1 of 3 PageID #:1727




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
                     v.                   )      No.:   09 CR 383-5, 9
                                          )
ALFREDO VASQUEZ HERNANDEZ,                )      Chief Judge Ruben Castillo
  a/k/a AAlfredo Compadre@                )

      GOVERNMENT=S RESPONSE TO MOTION TO BAR EVIDENCE

      The UNITED STATES OF AMERICA, by its attorney, ZACHARY T.

FARDON, United States Attorney for the Northern District of Illinois, respectfully

submits this response to defendant Tomas Arevalo Renteria’s Motion to Bar

Evidence (R. 276).   On March 26, 2014, Arevalo Renteria pleaded guilty to his role

in the charged conspiracy, and thus his motion became moot as to him.     However,

the government understands defendant Vasquez Hernandez to have adopted

co-defendant Arevalo’s motion, and thus the government briefly addresses it.

       In the motion, defendant Arevalo argued that certain allegations in the Third

Superseding Indictment related to certain of defendants’ co-conspirators would be

unduly prejudicial as to defendants Vasquez Hernandez and Arevalo Renteria (now

rendered moot).      For purposes of the upcoming trial of Vasquez Hernandez,

scheduled for May 12, the government does not feel litigation over those allegations

is necessary.   The government agrees that it will not introduce evidence, argue or

make mention of the allegations contained in the last three paragraphs of the Third

Superseding Indictment related to acts of violence.           See R. 276 at 2-4.

Additionally, the government will work with defense counsel to edit the indictment
   Case: 1:09-cr-00383 Document #: 291 Filed: 04/01/14 Page 2 of 3 PageID #:1728




(including the usual omission of references to the grand jury, etc.), to omit all

references to the same for purposes of trial, and in the version of the indictment the

jury is permitted to see.


                                       Respectfully submitted,

                                       ZACHARY T. FARDON
                                       United States Attorney


                                 By:   s/Thomas D. Shakeshaft
                                       THOMAS D. SHAKESHAFT
                                       MICHAEL FERRARA
                                       Assistant United States Attorneys
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Dated: April 1, 2014




                                          2
   Case: 1:09-cr-00383 Document #: 291 Filed: 04/01/14 Page 3 of 3 PageID #:1729




                           CERTIFICATE OF SERVICE

      The undersigned Assistant United States Attorney hereby certifies that the

following document:


      GOVERNMENT=S RESPONSE TO MOTION TO BAR EVIDENCE

was served pursuant to the district court=s ECF system as to ECF filers on APRIL 1, 2014.



                                         Respectfully submitted,

                                         ZACHARY T. FARDON
                                         United States Attorney


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